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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

BASSAM AWAD
     Plaintiff,

     v.                                            CIVIL ACTION NO.
                                                   18-12022-MBB
JOHN CUTONE and
BUNKER HILL COMMUNITY COLLEGE,
     Defendants.
                     MEMORANDUM AND ORDER RE:
             APPLICATION TO PROCEED IN FORMA PAUPERIS
                        (DOCKET ENTRY # 51)

                           October 13, 2021
BOWLER, U.S.M.J.

     On August 24, 2021, this court allowed a motion to dismiss

(Docket Entry # 34) filed by defendants Bunker Hill Community

College (“BHCC”) and BHCC Professor John Cutone (“Professor

Cutone”), in his official capacity.      (Docket Entry # 48).         In

addition, after undertaking a further screening of an amended

complaint, this court concluded it failed “to state a claim on

which relief can be granted,” 28 U.S.C. § 1915(e)(2)(B)

(“section 1915(e)(2)(B)”), against Professor Cutone in his

individual capacity and dismissed the individual capacity claim

against Professor Cutone under section 1915(e)(2)(B).         (Docket

Entry # 48).   This court also entered a final judgment.        (Docket

Entry # 49).   Liberally construing a pro se application to

proceed in the district court without prepayment of fees (Docket

Entry # 51), which plaintiff Bassam Awad (“plaintiff”) filed in

conjunction with a notice of appeal (Docket Entry # 50),
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plaintiff seeks leave to file an appeal in forma pauperis and

submits an affidavit of indigency.        (Docket Entry # 51).

     Under 28 U.S.C. § 1915(a)(3) “[a]n appeal may not be taken

in forma pauperis if the trial court certifies in writing that

it is not taken in good faith.”         28 U.S.C. § 1915(a)(3).

Likewise, under Fed. R. App. P. 24(a)(3), “[a] party who was

permitted to proceed in forma pauperis in the district-court

action . . . may proceed on appeal in forma pauperis without

further authorization, unless . . . the district court . . .

certifies that the appeal is not taken in good faith.”            Fed. R.

App. P. 24(a)(3); see Kersey v. Herb Chambers 1186, Inc., Civil

Action No. 18-11110-FDS, 2018 WL 11191311, at *2 (D. Mass. May

31, 2018).   This court allowed plaintiff to proceed in forma

pauperis, albeit subject to further screening of the amended

complaint.   (Docket Entry # 5).

                            CONCLUSION

     Although the issue is close, this court declines to certify

that the appeal is not taken in good faith.        The motion for

leave to file an appeal in forma pauperis (Docket Entry # 51) is

ALLOWED.




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